962 F.2d 15w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellant,v.David Keith JOHNSTON, Defendant-Appellee.
    No. 91-10291.
    United States Court of Appeals, Ninth Circuit.
    Submitted Feb. 13, 1992.Decided May 6, 1992.Memorandum Ordered Withdrawn Aug. 24, 1992.
    
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      NOTE: THE COURT HAS WITHDRAWN THIS OPINION.  SEE 976 F2d 738.
    
    